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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   MARC DAYS, CA Bar #184098
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, California 93721-2226
     Telephone: (559) 487-5561
 5
     Attorney for Defendant
 6   JORGE LUIS CARDEN-REYNA
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                        )   NO. 1:11-cr-00017 LJO
                                                      )
12                          Plaintiff,                )            AMENDED
                                                      )            SEALING ORDER
13          v.                                        )
                                                      )
14   JORGE LUIS CARDEN-REYNA,                         )   Judge: Hon. Lawrence J. O’Neill
                                                      )
15                          Defendant.                )
                                                      )
16                                                    )
17          GOOD CAUSE APPEARING, the Court hereby orders that specific portions of Defendant Jorge
18   Luis Carden-Reyna’s Motion to Suppress Fruits of Wiretaps, or In The Alternative, a Franks Hearing and
19   Discovery; Exhibits, be filed under seal until further order of the Court, as follows:
20          1.      Page 2, line 11, commencing with the word “On” and continuing through line 13, including
21                  footnote 6.
22          2.      Page 2, line 15, commencing with the word “On” and continuing through line 16, including
23                  footnote 7.
24          3.      Page 3, line 4, commencing with the word “Agents” and continuing through line 6.
25          4.      Page 7, line 2, commencing with the word “The” and continuing through line 4, ending
26                  with the word “¶25].”
27          5.      Page 10, line 8, commencing with the word “Agents” and continuing through line 15.
28   ///
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 1            6.       Page 11, line 1, commencing with the word “On” and continuing through line 22, including
 2                     footnotes 21 and 22, in their entirety.
 3            7.       Page 23, line 9, commencing with the word “Regarding” and continuing through line 11,
 4                     ending with the words “(Bates 64)].”
 5            8.       Page 23, line 23, commencing with the word “The” and continuing through line 25, ending
 6                     with the words “(Bates 70)].”
 7            9.       Page 24, line 7, commencing with the word “The” and continuing through Page 25, line 8.
 8            10.      Exhibit C-1
 9            11.      Exhibit C-2
10            12.      Exhibit C-3
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     IT IS SO ORDERED.
17
     Dated:         February 13, 2012                    /s/ Lawrence J. O'Neill
18   b9ed48                                          UNITED STATES DISTRICT JUDGE
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